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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §          Criminal Action No.
vs.                                              §          3:12-CR-392-O(02)
                                                 §
JOHNNY ANGEL GAMEZ                               §

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

       After reviewing all relevant matters of record in this case, including the Findings, Conclu-

sions, and Recommendation of the United States Magistrate Judge and any objections thereto, in

accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the

Findings and Conclusions of the Magistrate Judge are correct and they are accepted as the Findings

and Conclusions of the Court. The motion of non-party Rosalio Gamez for return of property (doc.

117) is DENIED.

       SIGNED this 16th day of May, 2013.



                                         _____________________________________
                                         Reed O’Connor
                                         UNITED STATES DISTRICT JUDGE




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